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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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TORI BURKE,
Plaintiff,
-against- COMPLAINT
THE CITY OF NEW YORK,
JURY TRIAL DEMANDED
Defendant.
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Plaintiff, TORI BURKE, by his attorneys POWELL & ROMAN, LLC, complaining of the

Defendant herein, respectfully alleges the following upon information and belief:
PRELIMINARY STATEMENT

l. Plaintiff was wrongfully arrested and imprisoned on or about September 24, 2012,
until his charges against him were dismissed on or about May 26, 2015. Plaintiff brings this civil
rights, wrongful arrest, unlawful imprisonment, malicious prosecution, assault and battery, and
negligence action to redress the deprivation under color of state law of rights, privileges and
immunities secured to Plaintiff by provisions of the Fourth, Fifth and Fourteenth Amendments to
the United States Constitution and under the laws of the United States, particularly under the Civil
Rights Act, Title 42, United States Code, Section 1983. Plaintiff alleges that he was wrongfully
arrested without probable cause or an arrest warrant, maliciously prosecuted and unjustly imprisoned
from September 24, 2012 through May 26, 2015., when the charges against him were dismissed.
Plaintiff also alleges that an assault and battery was committed to his person and suffered damages
through the negligence, recklessness and carelessness of the Defendant.

JURISDICTION

2 This Court has subject matter jurisdiction pursuant to 28 U.S.C. Sections 1331 and
1343 (a)(3) and (4). The substantive claims herein arise under 42 U.S.C. 1983 and the Fourth Fifth
Eighth and Fourteenth Amendments to the United States Constitution for actions arising under the

Constitution of the United States as well as applicable New York State law.

 

 
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PARTIES

a, At all times hereinafter mentioned, the Plaintiff, TORI BURKE, was and still is a
resident of the County of Queens, City and State of New York.

4. At all times hereinafter mentioned, the Defendant, THE CITY OF NEW YORK
(hereinafter referred to as “NYC”) was and still is a domestic municipal corporation duly organized
and existing under and by virtue of the laws of the State of New York, and that one of its agencies
and/or political subdivisions is the NEW YORK CITY POLICE DEPARTMENT, (hereinafter
referred to as “NYCPD”).

FACTS

 

x On or about September 24, 2012, at approximately 6:00 a.m. the Plaintiff was
lawfully in the premises known as 21-51 35" Avenue, Apartment 1G, the County of Queens, City
and State of New York, and was falsely arrested, unlawfully imprisoned, unlawfully searched and
seized, and was maliciously prosecuted, when the Defendant NYC through its agency NYPD, its
employees, agents and/or assignees, arrested the Plaintiff without just cause,

6. The Defendant NYC through its agency NYPD, arrested the Plaintiff in handcuffs
much to his embarrassment, was taken through the streets of Queens County, to a precinct in the
County of Queens, where he was forced to stay over an extended period of time.

7. Defendant NYC, through its agency, NYCPD, negligently, recklessly and carelessly
allowed its employees to charge Plaintiff with false criminal charges.

8. As a result of the aforementioned actions, Plaintiff was maliciously prosecuted for
charges of Penal Law 125.25-1, Murder in the Second Degree; Penal Law 265.03(1)(B) , Criminal
Possession ofa Weapon in the Second Degree-an Armed F elony; and Penal Law 265.03(3), Criminal
Possession of a Weapon in the Second Degree-an Armed Felony Offense, which lead to his false
imprisonment wherein the Plaintiff was detained and constantly shackled upon his hands and feet
from September 24, 2012 through May 26, 2015 when the charges against the Plaintiff were
dismissed.

9. At all times, Plaintiff was conscious of his confinement, did not consent to his

confinement, and was intentionally confined and the confinement was not otherwise privileged by

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to suffer as a result of the unlawful actions of Defendant NYC.

LEGAL CLAIMS

days after the cause of action of the Plaintiff accrued.

the Defendant NYC.

settle, compromise, or adjust the claim of the Plaintiff herein.

cause of action of the Plaintiff accrued.

of this action.

Constitution.

AS AND FOR THE FIRST CAUSE OF ACTION

and others hereinafter mentioned in this complaint.

arrest warrant being issued for Plaintiff.

 

law. Due to his incarceration, the Plaintiff lost wages from his place of employment, suffered

grievous emotional distress during his imprisonment in violation of his Civil Rights, and continues
10. The Notice of Claim was duly served upon the Defendant NYC within ninety (90)
il. More than thirty (30) days have elapsed since the service of the Notice of Claim upon
12, The Defendant NYC and its comptroller have failed, neglected, and refused to pay,
13; The action has been commenced within one (1) year and ninety (90) days after the
14. Plaintiff has duly complied with all the conditions precedent to the commencement
15. This action involves the deprivation of Plaintiff's constitutionally guaranteed rights
by Defendants and is founded upon 42 U.S.C. §1983. The rights sought to be enforced include
Plaintiff's rights guaranteed under the Fourth and Fourteenth Amendments to the United States
16, Defendant NYC employed the policemen, jailers, district attorney and his assistants
17. Defendant NYC owned, maintained, and controlled the police stations, jails and their
equipment, and the vans used to transport prisoners, all hereinafter mentioned in this Complaint
18. On September 24, 2012, at approximately 6:00 a.m. the Plaintiff was lawfully in the

premises known as 21-51 35" Avenue, Apartment 1G, the County of Queens, City and State of New

York, when Defendant’ s police officers arrived and placed the Plaintiff into custody without an

 
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19. Plaintiff was placed into police custody and transported to one of its precinct. Upon
arrival at the aforementioned precinct Plaintiff was detained against his will.

20. At the time that Plaintiff was being transported to the a police precinct he was
required to go with Defendant’s police offices and was not free to leave. Similarly during the entire
time that Plaintiff was at the police precinct, he was required to stay and was not free to leave,
despite the fact that there was no probable cause that he had committed a crime or arrest warrant on
which to base his detention.

md. The transportation of Plaintiff to, and the detention of Plaintiff at the police precinct,
without probable cause and without an arrest warrant constituted a seizure within the meaning of the
Fourth Amendment and deprived Plaintiff of liberty. This seizure and deprivation of liberty were
unreasonable and without due process of law, in violation of the Fourth and Fourteenth Amendments
to the United States Constitution.

22, The violation of Plaintiffs Fourth and Fourteenth Amendment rights by Defendant
its agents service and/or employees, under color of state law, individually, and through their
conspiracy with one another, was in accordance with the official policy of Defendant’s agency
NYCPD. The Defendant is liable to Plaintiff for the violation of his rights as is set forth more fully
below.

23. As aresult of the foregoing, Plaintiff has been deprived of his constitutional rights
and liberty and has suffered and continues to suffer great mental anguish and emotional upset. He
was held in custody by Defendant, under color of state law, and was not permitted to leave.

24. Asadirect result of the illegal transportation and detention of Plaintiff by Defendant,
Plaintiff was imprisoned for over two years eight months. In May 26, 2015, the charges against
Plaintiff were dismissed. During the time the charges were pending against the Plaintiff, Plaintiff
was under tremendous trauma and emotional upheaval.

25. As a result of the gross, willful and flagrant violation of Plaintiffs constitutional
rights as set out above, Plaintiff is entitled to a substantial award of punitive damages.

26. As aresult of the illegal actions of Defendant, Plaintiff has been required to hire an

attorney and will incur a sizable attorneys' fee.

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AS AND FOR A SECOND CAUSE OF ACTION

2H Plaintiff repeats, reiterates, and realleges each and every allegation contained
hereinabove as if the same were more fully set forth at length herein.

28. Onor about the 24" day of September, 2012 in the County of Queens, City of New
York, Defendant’s agents maliciously contriving and intending to injure Plaintiff and to bring him
into public disgrace and scandal, with force and arms, arrested Plaintiff, without any probable or
reasonable cause and without any warrant or other legal process therefore, and thereupon compelled
him to enter a certain police car and to ride therein on the public streets to a police station in Queens
County, and thereafter detained him in a cell in said police station and thereafter in cells in Central
Booking at the Queens County Criminal Court, all against Plaintiff's will and without his consent
and contrary to the laws of the State of New York.

29. Thereafter, maliciously intending to discredit Plaintiff and to destroy his reputation,
Defendant’s agents swore to, and filed in the Court, a written complaint charging him violating Penal
Law 125.25-1, Murder in the Second Degree; Penal Law 265.03(1)(B) , Criminal Possession of a
Weapon in the Second Degree-an Armed Felony; and Penal Law 265.03(3), Criminal Possession of
a Weapon in the Second Degree-an Armed Felony Offense.

30. Based upon the sworn statements of Defendant’s agent, Plaintiff was charged with
the aforementioned offenses.

31. Thereafter, on or about May 26, 2015, the Court dismissed the charges against the
Plaintiff.

32. The foregoing acts of Defendant against Plaintiff were committed maliciously,
wantonly, willfully, and without probable cause, excuse or justification therefore.

33: By reason and in consequence of said false arrest, unlawful imprisonment and
malicious prosecution, Plaintiff was severely injured and was caused to suffer severe physical and
mental pain and suffering and will continue to suffer physical and mental pain and suffering due to

the Defendants, their agents, servants, and employees’ malicious conduct.

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AS AND FOR THE THIRD CAUSE OF ACTION

34. Plaintiff repeats, reiterates, and realleges each and every allegation contained
hereinabove as if the same were more fully set forth herein.

35. On or about September 24, 2012, at approximately 6:00 a.m. in the vicinity of 21-51
35" Avenue, Apartment 1G, the County of Queens, City and State of New York, the Defendant
jointly and severally with it employees, agents and/or servants without any warrant, order or other
legal process and without any legal rights wrongfully and unlawfully arrested Plaintiff, restrained
him and his liberty, and then took him into custody to a police station in Queens County.

36. At all times the Plaintiff was conscious of his confinement, his confinement was
intentional by the Defendant, the Plaintiff did not consent to the confinement and the confinement
was not otherwise privileged by law.

37. Defendant NYC through its agents NYCPD, without warrant or authority of law,
wrongfully, unlawfully, against Plaintiff's wishes, without probable cause, and on the charges then
made, arrested the Plaintiff and compelled him to go with the Defendant’s to prison, where
Defendant knew or had an opportunity for knowing, and ought to have known, the matters herein
above alleged, wrongfully and without sufficient charge having been made against the Plaintiff,
directed that the Plaintiff be searched and placed in confinement.

38.  Theacts of the Defendant, its agents, servants, and employees were willful, concerted
and done maliciously and knowingly.

29, By reason of the joint and several acts of the Defendant through its employees agents
and/or servants, the Plaintiff, without fault of his part, was wrongfully and unlawfully deprived of
this liberty and compelled to confinement and was subject to great ridicule, humiliation, and

disgrace, and was caused to suffer physical and mental pain caused by said false arrest and wrongful

imprisonment.

AS AND FOR A FOURTH CAUSE OF ACTION
40. Plaintiff repeats, reiterates, and realleges each and every allegation contained

hereinabove as if the same were more fully set forth herein.

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41. As a result of the wrongful arrest, the Plaintiff was deprived of his liberty by the
Defendant. While he was in police custody the Plaintiff was photographed and his fingerprints were
taken in accordance with the usual practice of arrest of criminals and he was charged with and held
for various felony crimes.

42. The Plaintiff, was thereupon held in custody and restrained of his liberties and
unlawfully imprisoned until the charges against Plaintiff was dropped.

43. At all times, the Defendant intended to confine the Plaintiff, the Plaintiff was
conscious of the confinement, the confinement was not otherwise privileged by law nor did the
Plaintiff consent to such confinement.

44. By reason of the joint and several acts of the Defendant through its employees agents
and/or servants, the Plaintiff, without fault of his part, was wrongfully and unlawfully deprived of
this liberty and compelled to confinement and was subject to great ridicule, humiliation, and
disgrace, and was caused to suffer physical and mental pain caused by said false arrest and unlawful
imprisonment.

AS AND FOR A FIFTH CAUSE OF ACTION

45. Plaintiff repeats, reiterates, and realleges each and every allegation contained
hereinabove as if the same were more fully set forth herein.

46. Upon information and belief, on or about September 24, 2012 and from that time until
the determination that the Plaintiff was unlawfully arrested and that his charges were dismissed, the
Defendant through its employees agents and/or servants, jointly and severally did deliberately and
maliciously prosecute the Plaintiff, without any probable cause whatsoever.

47. The Defendant through its employees agents and/or servants, acting jointly and
severally in their respective capacities, failed to take reasonable steps to stop the prosecution of the
Plaintiff and instead maliciously and deliberately provided false and/or incomplete information to
the District Attorney’ s office to initially induce prosecution of the Plaintiff and the District attorney’s
office after it was informed by the Plaintiff and Counsel that he was innocent, they took no

reasonable steps to ascertain if he was properly being prosecuted and detained.

 

 
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48. The commencement of these criminal proceedings was malicious and begun in malice
and without probable cause that the proceeding could succeed by the Defendant.

49. As a result of the malicious prosecution, Plaintiff was deprived of his liberty and
suffered the humiliation, mental anguish, emotional distress, indignity and frustration of an unjust
criminal prosecution.

50. By reason of the joint and several acts of the Defendant through its employees agents
and/or servants, the Plaintiff, without fault of his part, was wrongfully and unlawfully deprived of
this liberty and compelled to confinement and was subject to great ridicule, humiliation, and
disgrace, and was caused to suffer physical and mental pain caused by said malicious prosecution.

AS AND FOR A SIXTH CAUSE OF ACTION

51, Plaintiff repeats, reiterates, and realleges each and every allegation contained
hereinabove as if the same were more fully set forth herein.

52. Defendant through its employees agents and/or servants, did violate the Constitutional
rights of the Plaintiff to be free from unlawful search and seizure pursuant to the Fourth Amendment
of the United States Constitution. The Plaintiff was seized, searched and held in custody by the
Defendant without the Defendant possessing a court authorized arrest warrant, reasonable suspicion
or probable cause to believe a crime was committed, was about to be committed by the Plaintiff or
had been committed by the Plaintiff.

ao. By reason of the joint and several acts of the Defendant through its employees agents
and/or servants, the Plaintiff, without fault of his part, was wrongfully and unlawfully deprived of
his liberty and compelled to confinement and was subject to great ridicule, humiliation, and disgrace,
and was caused to suffer physical and mental pain caused by said false arrest.

AS AND FOR A SEVENTH CAUSE OF ACTION

54, Plaintiff repeats, reiterates, and realleges each and every allegation contained
hereinabove as if the same were more fully set forth herein.

55. Defendant jointly and severally through its employees agents and/or servants, did
violate the Constitutional rights of the Plaintiff to be free from unlawful search and seizure of the

Plaintiff's person as stated in Article One, Section Twelve of the New York State Constitution, by

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their unlawfully seizing, searching, holding and arresting the Plaintiff without a court-authorized
arrest warrant, reasonable suspicion or probable cause.

56. By reason of the joint and several acts of the Defendant through its employees agents
and/or servants, the Plaintiff, without fault of his part, was wrongfully and unlawfully deprived of
this liberty and compelled to confinement and was subject to great ridicule, humiliation, and
disgrace, and was caused to suffer physical and mental pain caused by said false arrest and unlawful

imprisonment.

AS AND FOR A EIGHTH CAUSE OF ACTION

 

57. Plaintiff repeats, reiterates, and realleges each and every allegation contained
hereinabove as if the same were more fully set forth herein.

58. | Defendant did abuse and deprive the Plaintiff of his Civil and Constitutional rights
under Color of State law in violation of 42 United States Code, Section 1983 by their unlawful
actions in searching, seizing, holding, striking, arresting, imprisoning and maliciously prosecuting
the Plaintiff. At all times the individuals so named were acting under Color of State law in the scope
of their employment to deprive a citizen of the United States, his constitutional and statutory rights.

59. By reason of the joint and several acts of the Defendant through its employees agents
and/or servants, the Plaintiff, without fault of his part, was wrongfully and unlawfully deprived of
this liberty and compelled to confinement and was subject to great ridicule, humiliation, and
disgrace, and was caused to suffer physical and mental pain.

AS AND FOR A NINTH CAUSE OF ACTION

60. Plaintiff repeats, reiterates, and realleges each and every allegation contained
hereinabove as if the same were more fully set forth herein.

61. Defendant NYC though its agency, the NYCPD, grossly failed to train and adequately
supervise its police officers in the fundamental law and procedure of arrest, search and seizure of
persons with an alleged warrant.

62. As previously stated the police officers unlawfully arrested the Plaintiff, placed him

in custody and subjected him to numerous line-ups.

 

 
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63. Defendant NYC through its agency, the NYCPD, also grossly failed to train and
adequately supervise its Assistant District Attorneys in prosecuting and imprisoning individuals
similarly situated to the Plaintiff, and especially the Plaintiff in that the Plaintiff expressly informed
Defendant NYC’s police officers, the District Attorney’s Office that he was an innocent man not
wanted for any crimes and wrongfully being imprisoned.

64. Defendant NYC failed to implementa policy with its Police Department for its police
officers, that a fingerprint search, photograph or other identifiable characteristic search should be
conducted in every case where an individual was detained on no reasonable identifying
characteristics. This official policy had the same force and effect of encouraging the false arrest,
unlawful imprisonment, malicious prosecution, illegal search, seizure and investigation of the
Plaintiff's case all to his detriment.

65. The foregoing acts, omissions and systemic failures are customs and policies of
Defendant NYC which caused the police officers to not properly investigate the statements from the
Plaintiff that he was not in possession of any illegal drugs under the belief that they would suffer no
disciplinary actions for their failure to take proper or prudent steps in this case.

66. As adirect and proximate cause of the aforesaid acts, omissions, policies and customs
of Defendant NYC, its police officers and the District Attorney of Queens County and Assistant
District Attorneys, both jointly and severally, did unlawfully imprison, maliciously prosecute, violate
the Plaintiff's constitutional and statutory rights to be free from illegal search and seizures under the
Fourth Amendment of the United States Constitution and to be deprived of liberty pursuant to the
Fourteenth Amendment of the United States Constitution.

67. By reason of the joint and several acts of the Defendant through its employees agents
and/or servants, the Plaintiff, without fault of his part, was wrongfully and unlawfully deprived of
this liberty and compelled to confinement and was subject to great ridicule, humiliation, and

disgrace, and was caused to suffer physical and mental pain.

AS AND FOR A TENTH CAUSE OF ACTION

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68. Plaintiff repeats, reiterates, and realleges each and every allegation contained
hereinabove as if the same were more fully set forth herein.

69. Defendant was careless and negligent in failing to use reasonable care in the
investigation and other performance of their police, prosecutorial and investigative duties leading
up to the unlawful imprisonment and malicious prosecution of the Plaintiff that a reasonably prudent
and careful police officer, District Attorney and Assistant District Attorney would have used in
similar circumstances, including but not limited to, not arresting the Plaintiff and not continuing the
prosecution and imprisonment of the Plaintiff.

70. By reason of the joint and several acts of the Defendant through its employees agents
and/or servants, the Plaintiff, without fault of his part, was wrongfully and unlawfully deprived of
this liberty and compelled to confinement and was subject to great ridicule, humiliation, and
disgrace, and was caused to suffer physical and mental pain.

AS AND FOR AN ELEVENTH CAUSE OF ACTION

dla Plaintiff repeats, reiterates, and realleges each and every allegation contained
hereinabove as if the same were more fully set forth herein.

72: Defendant NYC failed to properly supervise and exercise sufficient care in that a
supervisory officer of sufficient rank was not present at the scene of the arrest and then subsequently
to evaluate the propriety of the arrest and the procedures used by the its agency NYCPD, especially
their follow up investigation of the facts and circumstances of the case which would have revealed
that the Plaintiff was not the individual wanted for murder and robbery.

73. By reason and in consequence of the foregoing, Plaintiff was severely injured and was
caused to suffer severe physical and mental pain and suffering and will continue to suffer physical
and mental pain and suffering due to the Defendants, their agents, servants, and employees’
malicious conduct.

AS AND FOR A TWELFTH CAUSE OF ACTION

74. Plaintiff repeats, reiterates, and realleges each and every allegation contained

hereinabove as if the same were more fully set forth herein.

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73. Plaintiff for many years enjoyed an excellent reputation in New York as a private
citizen.

76. Defendant its agents, servants and/or employees advised the media that Plaintiff had
been arrested for violating the aforementioned crimes.

ahs The Plaintiff had at no time committed any act in the presence of Defendant its
employees agents and/or servants, which constituted either a felony, misdemeanor, or violation of
any State statutes, nor was there in existence any reasonable or probable cause to believe that a
felony had been committed or that the Plaintiff had committed same. Further, there was not in
existence at this time any warrant calling for the arrest or imprisonment of Plaintiff.

78. Atal] times material, Defendant through its employees agents and/or servants, were
aware that Plaintiff had substantial family and business ties in Queens County, New York, and that
he would and would make himself continuously available for inquiries, investigations or any lawful
proceedings, including court appearances.

79. The Defendant at all times material, knew that there was a complete absence of
probable cause against the Plaintiff with respect to the charges for which they arrested Plaintiff, but
nonetheless procured the District Attorney's Office to file charges against the Plaintiff because they
desired to avoid any civil liability for their illegal arrest of Plaintiff.

80. Plaintiff was charged with the aforementioned crimes on September 24, 2012

81. Plaintiff's charges were dismissed on May 26, 2015.

82. The Plaintiff has a right to be free from illegal searches and seizure of Plaintiff's
person and a right to be free from unlawful arrest, detention and imprisonment. These rights are
secured to Plaintiff by the Fourth, Fifth and Fourteenth Amendments to the Constitution of the
United States and by 42 U.S.C. §1983.

83. On September 24. 2012, and continuing until May 26, 2015, Defendant, by illegally
arresting and imprisoning Plaintiff, deprived the Plaintiff of rights and privileges secured by the
United States Constitution, to wit:

(a) Plaintiff was deprived of the 4'" Amendment right to be secure against

unreasonable searches and seizures as applied to the states through the 14"
Amendment.

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(b) Plaintiff was deprived of the 8'" Amendment right to be free from cruel and
unusual punishment as applied to the state through the 14° Amendment.

(c) Plaintiff was deprived of the 14'" Amendment freedom of liberty including
but not limited to freedom from bodily restraint.

84. Plaintiff was subjected or caused to be subjected to such deprivations by the
Defendant its agents, servants and employees acting under color of State law.

85. The deprivation of Plaintiffs constitutional rights violates section 1983 of the Civil
Rights Act.

86. Defendant, individually and in concert with the others acted under pretense, color and
virtue of law and their official capacities, but said acts were illegal, and each Defendant, individually,
and in concert with the others acted willfully, knowingly and with specific intent to deprive Plaintiff
of his constitutional rights.

87.  Asadirect and proximate result of these violations of Plaintiff's constitutional rights,
he was made to suffer great emotional trauma, discomfort and embarrassment, was deprived of his
liberty, his personal and professional reputations were impaired.

88. Asa further direct and proximate result of the violations of Plaintiff's constitutional
rights, Plaintiff was required to employ and did employ the undersigned attorneys to prosecute this
action. The Plaintiff has become obligated to pay said attorneys a reasonable fee for their services
in connection with and in furtherance of this action arising out of the conduct of the Defendants.

AS AND FOR A THIRTEENTH CAUSE OF ACTION

89. Plaintiff repeats, reiterates, and realleges each and every allegation contained in
hereinabove as if the same were more fully set forth herein.

90. Defendant by its agents, and employees caused Plaintiff to be incarcerated without
justification or reasonable cause.

91. Incarcerating the Plaintiff, an innocent person is cruel and inhuman treatment in
violation of the United States and New York State Constitutions.

92. By actions of the servants, agents and employees of Defendant NYC, Plaintiff was

forced to suffer the cruel and inhuman treatment of being arrested, and imprisoned with all the

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detriments associated with these acts including but not limited to: being strip searched; being
assaulted by prisoners; and suffering embarrassment and shame.

03. By reason and in consequence of suffering cruel and inhuman treatment at the hands
of the Defendant, Plaintiff was severely injured and was caused to suffer severe physical and mental
pain and suffering and will continue to suffer physical and mental pain and suffering due to the
Defendants, their agents, servants, and employees.

AS AND FOR A FOURTEENTH CAUSE OF ACTION

94. Plaintiff repeats, reiterates, and realleges each and every allegation contained
hereinabove as if the same were more fully set forth herein.

95. On September 24, 2012, Plaintiff was lawfully situated at 21-51 35" Avenue,
Apartment 1G, the County of Queens, City and State of New York.

96. Defendant NYC’s agents or employees, without reasonable suspicion or probable
cause, invaded Plaintiff's privacy by intruding upon Plaintiff's affairs.

97. The act of Defendant’s employees in searching and seizing Plaintiff and strip
searching Plaintiff were violative of Plaintiffs privacy and objectionable to a reasonable person.

98. Defendant NYC, through its agents, servants, and employees then, in further
exacerbation of the original intrusion, strip searched Plaintiff at one of its Police Precinct and in
prison.

99. Defendant NYC and its servants, agents and employees have caused great
humiliation, embarrassment and shame to Plaintiff and invaded his privacy by subjecting him to
numerous strip searches and should be held liable for damages caused to Plaintiff.

100. Defendant NYC by their acts are responsible for the further acts of invasion of
Plaintiff's privacy by NYC through its agency NYCPD and its employees for setting into motion a
chain of events.

101. Defendant NYC, by illegally searching, seizing and strip searching Plaintiff in

invading Plaintiff's privacy have caused damages to the Plaintiff.

AS AND FOR A FIFTEENTH CAUSE OF ACTION

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102. Plaintiff repeats, reiterates, and realleges each and every allegation contained
hereinabove as if the same were more fully set forth herein.

103. Defendant NYC by its agents, servants, and employees, arrested Plaintiff for a crime
he did not commit and acted in a manner so egregious to society that it is extreme and outrageous
and shocking to the conscience.

104, Plaintiff has suffered severe emotional distress due to the Defendants’ conduct.

WHEREFORE Plaintiff prays for relief as follows:
(a) That the Court accepts jurisdiction over this matter;

(b) That the Court impanels and charges a jury with respect to the causes of
action;

(c) That the Court determine and enter judgment declaring that the acts and
omissions of the Defendants as set forth above, violated the rights secured to
the Plaintiff s Decedent under the Fifth, Ei ghth, and Fourteenth Amendments
to the United States Constitution;

(d) That the Court award damages to the Plaintiff for physical pain and mental
anguish;

(e) That the Court award general damages to the Plaintiff:
(f) That the Court award punitive damages to the Plaintiff;

(g) That the Defendants be required to pay the legal costs and expenses herein,
including reasonable provision for Plaintiffs attorneys’ fees;

(h) That the Court grant such further and additional relief that is appropriate
herein.
Dated: New York, New York
April 20, 2016

Yours, etc.

POWELL & ROMAN, LLC

By: Zo ate
Robert G. Androsiglfo, £Sq.(RGA4354)

Attorneys for Plaintiff

30 Wall Street, 8" Floor

New York, NY 10005-2205

(212) 742-0001

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